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                                                          Time: January 23, 2019 at 11:00 a.m. (EST)
                                            Objection Deadline: January 16, 2019 at 4:00 p.m. (EST)

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                )         Chapter 11
                                                      )
REPUBLIC METALS REFINING                              )         Case No. 18-13359 (SHL)
CORPORATION, et al.,1                                 )
                                                      )         (Jointly Administered)
                            Debtors.                  )
                                                      )         Related Doc. No. 325

                OBJECTION OF THE SENIOR LENDERS
TO MOTION OF THE UNITED STATES TRUSTEE FOR THE ENTRY OF AN ORDER
      DIRECTING THE APPOINTMENT OF A CHAPTER 11 EXAMINER




1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax
identification number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209,
New York, NY 10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378),
Republic Carbon Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High
Tech Metals, LLC, 13001 NW 38th Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic
LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7604), R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (7848), Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R.
200001 China (1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409,
Centro Joyero Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
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       Coöperatieve Rabobank U.A., New York Branch (“Rabobank”), Brown Brothers

Harriman & Co. (“BBH”), Bank Hapoalim B.M. (“Hapoalim”), Mitsubishi International

Corporation (“Mitsubishi”), ICBC Standard Bank Plc (“ICBCS”), Techemet Metal Trading LLC

(“Techemet”), Woodforest National Bank (“Woodforest”) and Bank Leumi USA (“Leumi” and,

together with Rabobank, BBH, Hapoalim, Mitsubishi, ICBCS, Techemet and Woodforest, the

“Senior Lenders”) hereby submit this objection (this “Objection”) to the Motion of the United

States Trustee for the Entry of an Order Directing the Appointment of a Chapter 11 Examiner

(the “Motion”)2 [Docket No. 325], and in support thereof respectfully state as follows:

                                   PRELIMINARY STATEMENT

       1.      The Senior Lenders understand the U.S. Trustee’s concerns about issues relating

to whether inventory held by the Debtors is property of the estates. However, the Senior Lenders

respectfully disagree that this issue (which is primarily legal in nature) justifies the extraordinary

remedy and expense of an examiner, especially in light of the substantial progress that has been

made by all interested parties to establish a practical and workable protocol for the determination

of customer claims and property of the estate issues.

       2.      The Debtors’ chapter 11 petitions indicate that the Debtors have no fixed,

liquidated, unsecured debts, other than debts for goods, services, or taxes, or owing to an insider.

Accordingly, Section 1104(c)(2) of the Bankruptcy Code does not support appointment of an

examiner. Likewise, Section 1104(c)(1) of the Bankruptcy Code, which allows the Court to

appoint an examiner in its discretion if “such appointment is in the interests of creditors, any

equity security holders, and other interests of the estate,” does not justify the appointment of an

examiner. Here, an examiner would provide no tangible benefit to the Debtors’ estates, would


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       All capitalized terms used but not defined herein have the meaning ascribed to such terms in the Motion.
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waste limited resources, and could jeopardize the substantial progress being made toward

moving these cases forward through the consensual efforts of the Debtors, the Senior Lenders,

the Committee and the Debtors’ customers.

       3.      Under these circumstances, appointment of an examiner is unnecessary and not in

the best interests of the Debtors’ estates or creditors. The Motion should therefore be denied.

                                         BACKGROUND

   A. The Chapter 11 Cases

       4.      Each of the above-captioned debtors and debtors in possession (collectively, the

“Debtors”) filed a voluntary petition for relief under chapter 11 of the United States Bankruptcy

Code (the “Bankruptcy Code”) on November 2, 2018 (the “Petition Date”) or November

21, 2018.

       5.      The Debtors are continuing to operate and manage their properties and assets as

debtors-in-possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code. No trustee

or examiner has been appointed in the chapter 11 cases.

       6.      On November 19, 2018, the Office of the United States Trustee for the Southern

District of New York (the “U.S. Trustee”) appointed the Official Committee of Unsecured

Creditors in these cases (the “Committee”) [Docket No. 113].

       7.      The factual background relating to the commencement of these cases is set forth

in detail in the Declaration of Scott Avila, as Chief Restructuring Officer, in Support of

Chapter 11 Petitions and First Day Motions (the “Avila Declaration”) [Docket No. 3].

   B. Cash Collateral Orders, Customer Inventory Dispute and Sale Process

       8.      To finance the Debtors’ chapter 11 cases, the wind down of their operations and

the liquidation of their assets, the Debtors required the use of the Senior Lenders’ cash collateral.



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The Court has entered three interim cash collateral orders [Docket Nos. 54, 277 and 373] and the

parties are negotiating the terms of a consensual final order.

       9.      Many of the Debtors’ customers have asserted that certain precious metals

delivered or transferred to the Debtors on or before the Petition Date and the proceeds thereof are

not property of the Debtors’ estates. The Debtors and the Senior Lenders dispute the customers’

claims and maintain that all such precious metals and proceeds are property of the Debtors’

estates and subject to the Senior Lenders’ prepetition and adequate protection liens. At the

Court’s direction, the Debtors, the Senior Lenders, the Committee and an ad hoc group of

customers engaged in extensive negotiations on the terms of a protocol governing this dispute

(the “541 Protocol”).

       10.     The 541 Protocol sets forth detailed procedures and schedules governing, among

other things, the statement of claims and defenses, discovery by all parties, status reports to the

Court and a mechanism to group like claims together and resolve them jointly, by dispositive

motion or trial. The Court approved the 541 Protocol on the record at a hearing held on

December 14, 2018 and entered an order approving the 541 Protocol on January 11, 2019

[Docket No. 395]. Not a single party (including the U.S. Trustee) objected to the entry of the

541 Protocol or has raised any issues with the procedures and schedule established thereby.

       11.     Under the 541 Protocol, customer statements of claim are due January 18, 2019;

responses by the Debtors and the Senior Lenders are due February 18, 2019; and customer

replies are due February 28, 2019. Meanwhile, documents are to be produced on a rolling basis

until February 28, 2019, with fact discovery to be closed by April 18, 2019 and expert discovery

to be closed by May 10, 2019. The Court has reserved May 20, 2019 and May 21, 2019 for

evidentiary hearings on the merits, as needed. See Docket No. 395.



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       12.     In addition to the 541 Protocol, the Debtors have worked with the Senior Lenders

and the Committee to establish procedures to address particular “buckets” of claims. To this

end, the Debtors filed standalone motions to deal with over $13.5 million of prepaid inventory

claims [Docket Nos. 219 and 286], 44 reclamation demand claims [Docket No. 303] and claims

by certain Mexican customers [Docket No. 307]. The Court has entered orders approving

settlement procedures with prepaid customers [Docket No. 372] and Mexican customers [Docket

No. 371] and a settlement with a prepaid customer facing financial hardship [Docket No. 324].

The Debtors, the Senior Lenders and the Committee also are currently in negotiations with

certain of the Debtors’ carbon customers, and anticipate filing motions seeking approval of

settlements regarding over $5 million of carbon inventory in the near future.

       13.     Concurrently with the cash collateral and customer claim negotiations, the

Debtors filed a motion on December 21, 2018 (the “Sale Motion”) [Docket No. 358] seeking

authority to sell substantially all of their remaining assets pursuant to Section 363 of the

Bankruptcy Code. The auction contemplated by the bid procedures approved by the Court

[Docket No. 399] is scheduled for January 31, 2019, with a sale hearing following on

February 13, 2019.

       14.     In short, significant progress has been made through the cooperation of the

Debtors’ major constituencies towards a speedy, efficient and consensual resolution of these

cases, including the resolution of customer claims and property of the estate issues.

   C. The Motion

       15.     On December 18, 2018, the U.S. Trustee filed the Motion, requesting that the

Court appoint an examiner pursuant to Section 1104(c) of the Bankruptcy Code to “investigate

and report on the issues presented regarding the ownership of the property in the Debtors’



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possession, including the raw materials, processed precious metals, and potentially segregated

items that may have been identified for shipment back to their respective owners.” Motion, at

p. 3.

        16.    It appears that the U.S. Trustee seeks the appointment of an examiner to

investigate and report on the same legal issue addressed by the 541 Protocol: namely, whether

precious metals and proceeds held by the Debtors are property of the estates.

                                          OBJECTION

    A. The Court Has Discretion To Decline To Appoint an Examiner

        17.    The appointment of an examiner is governed by Section 1104(c) of the

Bankruptcy Code. Section 1104(c) provides, in pertinent part, that:

               on request of a party in interest . . . the court shall order the appointment of an
               examiner to conduct such an investigation of the debtor as is appropriate,
               including an investigation of any allegations of fraud, dishonesty, incompetence,
               misconduct, mismanagement, or irregularity in the management of the affairs of
               the debtor of or by current or former management of the debtor, if—

                      (1) such appointment is in the interests of creditors, any equity security
                      holders, and other interests of the estate; or

                      (2) the debtor’s fixed, liquidated, unsecured debts, other than debts for
                      goods, services, or taxes, or owing to an insider, exceed $5,000,000.

11 U.S.C. § 1104(c) (emphasis added).

        18.    The moving party has the burden to prove that an examiner should be appointed.

In re Dewey & LeBoeuf LLP, 478 B.R. 636, 640 (Bankr. S.D.N.Y. 2012).

        19.    As a preliminary matter, the Motion does not and cannot establish that the

Debtors have fixed, liquidated, unsecured debts, other than debts for goods, services or taxes, or

owing to an insider, that exceed $5,000,000. The consolidated list of 30 largest unsecured claims

annexed to the Debtors’ voluntary chapter 11 petitions does not schedule a single fixed or

liquidated claim or a single claim unrelated to the provision of goods or services. See Official

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Form 204, List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders,

on a Consolidated Basis, at 1-2 [Docket No. 1].3 The Motion relies on the Avila Declaration for

the proposition that the Debtors’ alleged $86 million of outstanding customer claims fulfill the

requirement in Section 1104(c)(2). However, the claims held by the customers are contingent

and unliquidated claims for the sale of goods or services (i.e., the sale of precious metals or the

refining of metals) and are wholly dependent on the outcome of the litigation governed by the

541 Protocol. Therefore, these claims cannot be considered for purposes of meeting the

threshold in Section 1104(c)(2). See, e.g., Dewey, 478 B.R. at 638 (denying examiner

appointment under Section 1104(c)(2) where movants failed to meet their burden to prove that

the debtor had fixed, liquidated, unsecured debts in excess of $5 million other than debts for

goods, services or taxes); In re Terrestar Corporation, No. 11-10612 (SHL) (Bankr. S.D.N.Y.

Sept. 21, 2011), Tr. 12-14 (same).4

       20.      Accordingly, Section 1104(c)(2) is not applicable and Section 1104(c)(1), which

permits appointment of an examiner only if “such appointment is in the interests of creditors, any

equity security holders, and other interests of the estate,” controls. The Court clearly has the

discretion to decline to appoint an examiner under Section 1104(c)(1). See, e.g., Dewey, 478

B.R. at 640 (declining, in the court’s discretion, to appoint an examiner under Section

1104(c)(1); Terrestar, No. 11-10612, Tr. 8-12 (same); In re Bradlees Stores, Inc., 209 B.R. 36

(Bankr. S.D.N.Y. 1997) (same).

       21.      Even if the Court were to conclude that the requirements of Section 1104(c)(2)

were met, the Court could still decline to appoint an examiner. Although there is no controlling




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       All 30 claims listed are described as unliquidated claims for “trade debt”. Id.
4
       A copy of the transcript is attached to this Objection as Exhibit A.

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authority in the Second Circuit on whether Section 1104(c) should be construed as mandatory or

permissive, courts in this and other Districts have interpreted Bankruptcy Code Section 1104(c)

as permissive, not mandatory, focusing on the modifier “as is appropriate.” See, e.g., Dewey,

478 B.R. at 640 (holding that the court “retains the discretion to deny a motion for appointment

of an examiner” even where the debtor had fixed, liquidated, unsecured debts in excess of $5

million); In re Residential Capital, LLC, 474 B.R. 112, 121 (Bankr. S.D.N.Y 2012) (holding that

“[w]hile Section 1104(c) expresses a Congressional preference for appointment of an

independent examiner to conduct a necessary investigation, the facts and circumstances of the

case may permit a bankruptcy court to deny the request for appointment of an examiner even in

cases with more than $5 million in fixed debts”); In re Spansion, Inc., 426 B.R. 114, 127 (Bankr.

D. Del. 2010) (despite the debt threshold having been met, court “[found] no sound purpose in

appointing an examiner, only to significantly limit the examiner’s role when there exists

insufficient basis for an investigation. To appoint an examiner with no meaningful duties strikes

me as a wasteful exercise, a result that could not have been intended by Congress.”).

   B. The Appointment of an Examiner is Not in The Interest of Any Party

       22.     The Motion fails to establish any practical basis for the appointment of an

examiner. The Debtors and interested parties are in the process of investigating and settling

substantial customer claims that would presumably fall under the proposed examiner’s purview,

and the just-implemented 541 Protocol will resolve virtually all the rest. Accordingly, the

investigation the U.S. Trustee suggests would be a duplicative waste of estate resources resulting

only in unnecessary cost and delay. There is simply no further investigation to perform with

respect to customer claims. The appointment of an examiner is therefore not in the interest of the

Debtors’ estates or creditors under the facts and circumstances of these cases.



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       (i)     The Debtors are Amply Represented by Independent Fiduciaries

       23.     The appointment of an examiner may be “appropriate” under Section 1104(c) if

there are “allegations of fraud, dishonesty, incompetence, misconduct, mismanagement, or

irregularity in the management of the affairs of the debtor.” 11 U.S.C. § 1104(c). Here, the

Motion makes no allegation (factual or otherwise) of wrongdoing with respect to the prepetition

customer claims at issue, or to any post-petition misconduct by the Debtors.

       24.     The Debtors have retained independent bankruptcy counsel, Akerman LLP

[Docket No. 278], financial advisors, Paladin Management Group, LLC [Docket No. 245], and a

chief restructuring officer, Scott Avila [Docket No. 245], who has been in place since July 2018.

See Docket No. 58, p. 15. Accordingly, the Debtors’ affairs are being managed by an

independent fiduciary with the advice and assistance of experienced bankruptcy professionals.

       25.     Moreover, to the extent that the U.S. Trustee is concerned about the Debtors’ pre-

petition inventory discrepancy (and it is not clear from the Motion that it is), any wrongful

conduct would have taken place prior to the Debtors’ appointment of Mr. Avila and is already

being investigated by the Committee pursuant to its court-approved 2004 investigation. See

Docket No. 353. A second concurrent, overlapping investigation is not warranted.

       (ii)    Unnecessary Cost and Delay

       26.     In determining whether the examiner’s investigation would be appropriate and in

the interests of the Debtors’ estates and creditors, the Court should also consider whether the

benefit (if any) of an examiner would be outweighed by the costs and delay associated with an

investigation. Dewey, 478 B.R. at 640 (denying examiner appointment because “it would only

add needless expense and delays”); Terrestar, No. 11-10612, Tr. 9:12-15 (noting the court must




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“weigh the allegations presented in the request for an examiner, as well as the cost of an

examiner to the estate, both monetarily and in terms of delay”).

       27.     Here, the appointment of an examiner would impose unnecessary administrative

expenses on the Debtors’ estates and would delay the resolution of these cases. The very

investigation that the U.S. Trustee seeks is wholly duplicative of the investigation and claim

resolution process governed by the 541 Protocol, a process that the Debtors and their extremely

active creditor base spent considerable time, effort and expense negotiating, without any

objection by the U.S. Trustee. Substantial customer claims have already been negotiated and

resolved consensually. Discovery and briefing under the 541 Protocol to resolve all the

remaining customer claims has commenced. Deadlines for the statement of claims and defenses,

fact and expert discovery, status reports to the Court and dispositive motions and trial dates have

been set. The Debtors, the Senior Lenders, the Committee and the Debtors’ customers are

represented by sophisticated professionals and are fully capable of litigating the property dispute

to its conclusion, with the Court as the arbiter of the merits of the underlying legal arguments.

       28.     Moreover, an examiner could only investigate claims, not negotiate settlements or

litigate claims that cannot be settled. Substantial involvement by the interested parties would

therefore still be required if an examiner were appointed. As a result, an examiner would not

streamline or expedite the existing process or resolve the disputed issues.

       29.     The Senior Lenders respectfully submit that the 541 Protocol adequately

addresses the U.S. Trustee’s concerns, rendering the appointment of an examiner wasteful and

unnecessary. In these circumstances, appointing an examiner solely to duplicate the

investigative efforts that have already been undertaken by capable parties would serve no




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purpose other than to waste estate resources. For these reasons, the appointment of an examiner

is not necessary, appropriate or in the interests of the Debtors’ estates or creditors.

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                                          CONCLUSION

       WHEREFORE, for the reasons set forth herein, the Senior Lenders respectfully request

that the Court (i) deny the Motion in its entirety and (ii) grant such other and further relief as is

just and proper.


 Dated: New York, New York                             Respectfully submitted,
        January 16, 2019

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                                        EXHIBIT A


      In re Terrestar Corporation, No. 11-10612 (SHL) (Bankr. S.D.N.Y. Sept. 21, 2011)
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       2       UNITED STATES BANKRUPTCY COURT

       3       SOUTHERN DISTRICT OF NEW YORK

       4       Case No. 11-10612(SHL)

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       6       In the Matter of:

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       8       TERRESTAR CORPORATION, et al.,

       9

     10                       Debtors.

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     12        - - - - - - - - - - - - - - - - - - - - -x

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     14                              U.S. Bankruptcy Court

     15                              One Bowling Green

     16                              New York, New York

     17

     18                              September 21, 2011

     19                              3:06 PM

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     21        B E F O R E:

     22        HON. SEAN H. LANE

     23        U.S. BANKRUPTCY JUDGE

     24

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       2       Telephone Conference on the Record:           Decision Re: Doc. #190 &

       3       179 Scheduling Order Signed on 9/7/11, Re: Valuation Objections

       4       of Jeffrey Swarts In Response to the TSC Debtors First Plan of

       5       Reorganization Disclosures Exhibits D & F and Reconsideration

       6       Request for an Examiner and/or Official Equity Committee.

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       3                  Attorneys for Sullivan and Worcester LLP

       4                  One Post Office Square

       5                  Boston, MA         02109

       6

       7       BY:        PAMELA HOLLEMAN, ESQ. (TELEPHONICALLY)

       8

       9       ALSO:

     10        JEFFREY M. SWARTS, PRO PER (TELEPHONICALLY)

     11        MARK TAUB, MOHAWK CAPITAL, LLC (TELEPHONICALLy)

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       1                               P R O C E E D I N G S

       2                  THE COURT:   Good afternoon, and those of you present,

       3       Ms. Golden, please be seated, and all the rest of you wherever

       4       you are, please feel free to be seated.

       5                  As I stated at the hearing on Monday, it was my

       6       intention to take the matter under advisement and then issue a

       7       ruling which given the need to move things in this courthouse,

       8       this case along, and as well as just things in the courthouse

       9       generally along, I wanted to do that in an oral fashion, rather

      10       than writing it out, which always adds an extra layer of time,

      11       and I think in the interest of all the parties, that that was

      12       not a beneficial thing to do, when I think I can just lay my

      13       reasoning out orally.

      14                  So my intention is to issue my ruling now.          Argument

      15       has occurred, I've taken under advisement, under consideration

      16       all of what everyone said at the hearing on Monday, so I'm not

      17       expecting that there's anything else to do other than to listen

      18       to what I say what the ruling is, and then I'll ask the

      19       appropriate party to submit an order.

      20                  So with that said, let me begin.        Before me are

      21       requests of several parties, Jeffrey Swarts dated August 28th,

      22       2011, as well as a joinder by Mohawk Capital LLC and a letter a

      23       by Aldo Perez & Associates dated September 13th, 2011.             And all

      24       of these request an appointment of an examiner, and as

      25       discussed at the hearing on Monday, I've reviewed all of the

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       1       materials submitted to me by all the parties, but for the

       2       reasons that I explained at the hearing, I have excluded one

       3       document from my consideration, which is Exhibit I that was

       4       provided by Mr. Swarts, which was a transcript from a criminal

       5       jury trial.

       6                  So with that, the standard here for appointment of an

       7       examiner is covered by Section 1104(c) of the Bankruptcy Code.

       8       That section provides in relevant part "that on request of a

       9       party in interest, the Court shall order the appointment of an

      10       examiner to conduct such an investigation of the debtor, as is

      11       appropriate, including an investigation of any allegations of

      12       fraud, dishonesty, incompetence, misconduct, mismanagement, or

      13       irregularity in the management of the affairs of the debtor, of

      14       or by current or former management of the debtor if (1), such

      15       appointment is in the interest of creditors, any equity

      16       security holders, and other interests of the estate, or (2) the

      17       debtors fixed liquidated unsecured debts other than debts for

      18       goods, services, or taxes, or owing to an insider exceed five

      19       million dollars."     And that again is 11 USC 1104(c).

      20                  Applying the statutory criteria to the facts before

      21       me, I conclude that the appointment of an examiner is not

      22       appropriate in this instance, and I will explain my rationale

      23       for the ruling in more detail in a minute.          But before I do

      24       that, I'd like to take this opportunity to say that I thought

      25       Mr. Swarts, as a pro se litigant, did a very able job of

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       1       presenting his arguments, and that I appreciate the quality of

       2       his presentation.

       3                  It appears that he lost a significant amount of money

       4       as an investor in the common stock of TSC and sadly, that is

       5       not an uncommon situation here in bankruptcy court, where

       6       creditors end up seeking recourse only because things have

       7       taken a terrible turn.      And that -- but that doesn't make the

       8       situation any less unfortunate in each case, and so I do

       9       sympathize with Mr. Swarts, and of course, I have to keep that

      10       sympathy separate from my job, which is to apply the Bankruptcy

      11       Code as drafted by Congress to the facts of a given situation.

      12                  So turning to the details of my ruling, I conclude

      13       that appointment is not appropriate under Section (c)(1) which

      14       requires the Court to look at the interest of all creditors and

      15       the estate.    There are a few cases that shed some light about

      16       (c)(1).

      17                  For example, in James Phillip Sletteland, S-l-e-t-t-e-

      18       l-a-n-d, a Chapter 11 case here in the Southern District of New

      19       York, 260 Bankruptcy Reporter 657, in front of Judge Gropper,

      20       it notes that under the relevant statute, that a particular

      21       group of creditors, a creditor group, even if dominant, can't

      22       justify the appointment of a trustee or examiner simply by

      23       alleging it would be in its interest.         It must show the

      24       appointment is in the interest of all who has a stake in the

      25       case, including the debtor.

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       1                  That similar proposition is cited in Gliateck, Inc.,

       2       G-l-i-a-t-e-c-k, which is a Chapter 11 case in the Northern

       3       District of Ohio from 2004, 305 Bankruptcy Reporter 832 at page

       4       -- I guess it's star 7 and 8.

       5                  Relatedly, in looking at this provision, the Court

       6       must keep in mind that the benefit to the estate and the

       7       attendant protections of the examiner's investigation must

       8       outweigh the expenses, and that is -- observation is in In Re:

       9       Gilman, G-i-l-m-a-n, Services, Inc. a bankruptcy case from the

      10       District of Massachusetts from 1985, found at 46 Bankruptcy

      11       Reporter 322.

      12                  So looking at this precedent, I'm asked to weigh the

      13       allegations presented in the request for an examiner, as well

      14       as the cost of an examiner to the estate, both monetarily and

      15       in terms of delay, because as was stated at the hearing, and we

      16       all know, it is expensive for a debtor company to be in Chapter

      17       11.

      18                  So first I note that there's only -- there's very

      19       little in the way of facts presented to support allegations of

      20       fraud or misconduct.      There's a lot of the use term "may".

      21       What is the allegations at least in Mr. Swarts' pleading are

      22       primarily concern valuation of the estate assets, either value

      23       of the spectrum, or what Mr. Swarts characterizes as a below

      24       market lease.

      25                  And an issue of valuation, of course, is the subject

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       1       of any plan and plan hearing, and therefore, objections to the

       2       plan provided forum for all parties to challenge the valuation

       3       assigned by the debtors to the estate assets.

       4                  Here, Mr. Swarts has pointed to one specific valuation

       5       previously assigned to debtor assets four years prior to the

       6       filing of this bankruptcy, namely a 2008 SEC filing, and he

       7       also points to valuation of spectra in other bankruptcy cases,

       8       which he views as similar to the spectra -- spectrum at issue

       9       in this case.

      10                  As a threshold matter, I note that assets in question

      11       are all held not by TSC, the debtor, but rather by a non-debtor

      12       second level subsidiary which is not in bankruptcy, but TSC

      13       indirectly holds equity in that entity.

      14                  At the hearing, the debtors noted that they dispute

      15       the characterization of the leases below market, although I

      16       don't need to decide that issue here today, because at the

      17       hearing, as I said, it's not about -- we're not deciding any

      18       valuation at this point, that's for later in the proceeding.

      19       But certainly the debtors also noted the Court's inability to

      20       alleviate the non-debtor from its obligations under that lease,

      21       even if it is below market.

      22                  But addressing the SEC filing, I certainly assumed

      23       that the historical valuation of these assets is a likely

      24       subject for any plan confirmation hearing, and I'll consider

      25       any arguments on valuation at that time, but as the Spansion,

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       1       S-p-a-n-s-i-o-n, Inc. case at 426 Bankruptcy Reporter 114, it's

       2       a Delaware bankruptcy case noted that there's a distinction

       3       between 1104(c)'s inquiry into fraud, mismanagement,

       4       irregularities from straight valuation questions.            Certainly

       5       valuation is something that might be looked at in connection

       6       with fraud, mismanagement or irregularities, but the statute

       7       really is not addressed to sheer valuation as a stand alone

       8       issue.

       9                  But putting aside the SEC filing, I note that Mr.

      10       Swarts has referenced other cases and other valuations, and I

      11       have to note the valuation in each case is a unique inquiry and

      12       it's the result of the facts and circumstances that result in a

      13       determination of the worth of an asset at a particular time.

      14                  So as a result, valuations from other cases are of a

      15       limited utility to me, and that's just something that the

      16       parties should be aware of.

      17                  I also note that given the proposed disclosure

      18       statement and plan before me, common shareholders appear to be

      19       out of money in this case by at least several hundred thousand

      20       dollars.    And that means in practical terms that several

      21       hundred thousands of dollars of value would have to be found in

      22       this case before common stockholders would recover anything.

      23                  In that connection, I have taken into account the

      24       views of other parties who either filed objections or appeared

      25       at the hearing to let their views be known, and note those

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       1       include the unsecured creditor Elektrobit as well as creditors

       2       who hold either or both preferred and common shares, such as

       3       Solus, Harbinger and Highland.        These creditors would stand to

       4       gain if additional recovery was available in these cases.

       5       Elektrobit and these other creditors oppose the request for an

       6       examiner here, because of concerns about the costs of such an

       7       examiner, both in terms of professional fees and delay in this

       8       case.

       9                  And this is the case, even though as Elektrobit's

      10       counsel stated in her presentation, those creditors will be

      11       paying close attention to valuation issues as this case moves

      12       forward to the disclosure statement and the plan.            The views of

      13       those parties obviously are relevant in my determination of

      14       whether appointment of an examiner is appropriate for the

      15       benefit of all parties.

      16                  So given all these facts, I'm not persuaded that

      17       there's a sufficient basis under (c)(1) to merit the

      18       appointment of an examiner as in the interest of all creditors.

      19                  Turning to Section (c)(2), I conclude that quote,

      20       "Debtor's fixed liquidated unsecured debts, other than debts

      21       for goods, services, or taxes are owing to an insider," end

      22       quote, do not exceed five million dollars.

      23                  In reaching this conclusion, I have reviewed the

      24       schedules of assets and liabilities, the claims register, and

      25       the summary chart of those claims provided at the hearing by

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       1       debtors, the title of which was breakdown of claims Re:

       2       Section 1104(c)(2) debt threshold, which I'm taking essentially

       3       as merely a summary of facts that are in the case, and so I was

       4       just using it as a summary chart.

       5                  And so of all the claims filed in these cases, 874

       6       million of the 905 million total are unsecured claims for goods

       7       and services, and notably this includes the claim of

       8       Elektrobit, which I had specifically inquired about at the

       9       hearing.    I had inquired because that claim worth between

      10       twenty-five million and twenty-seven million dollars, depending

      11       upon which documents in this case you reviewed.           That claim was

      12       listed on debtor's Schedule F of unsecured claims, and I had

      13       asked because the status of that claim on that schedule did not

      14       list it as unliquidated, and it was unclear whether it fell

      15       into the category in (c)(2) that would necessitate the

      16       appointment of an examiner, and so whether it counted against

      17       the five million dollar ceiling.

      18                  At argument, counsel for both Elektrobit and the

      19       debtor explained that the Elektrobit claim was, in fact, for

      20       goods or services, and also was unliquidated, because it is the

      21       subject of a pending state court action that has not yet

      22       reached a resolution.      So accordingly, the existence of that

      23       claim doesn't require the appointment of an examiner.

      24                  I also didn't see any other claims that either alone

      25       or combined in all these cases would require the appointment of

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       1       an examiner, by virtue of triggering the five million dollar

       2       cap set forth in Section (c)(2) and contemplated by the Loral

       3       case found at 2004 West Law 297, 985.

       4                   So for all those reasons, I am going to deny the

       5       motion of the appointment of an examiner.           I appreciate the

       6       arguments of the parties, and I thought they were very useful

       7       in illuminating the issues, and I would ask that since debtor

       8       is the prevailing party here, that they submit a proposed order

       9       to resolve the motion.

      10                   So with that business of the court being concluded,

      11       that's my ruling, there's nothing else scheduled to be

      12       discussed today.      I will see you all at the next appropriate

      13       time when these cases are on the calendar.

      14                   Actually, if debtors would do me a favor as to

      15       essentially settle the order, so that folks have seen it before

      16       I get it.     If not, obviously, it's my ruling.         So if people

      17       can't agree, I'll enter my own order.          But I would imagine you

      18       should be able to settle something.

      19                   Thank you and have a good day.

      20            (Whereupon these proceedings were concluded at 3:21 PM)

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       2                               C E R T I F I C A T I O N

       3

       4       I, Sharon Meyer, certify that the foregoing transcript is a

       5       true and accurate record of the proceedings.

       6
                                       Digitally signed by Sharon Meyer
       7
                Sharon Meyer           DN: cn=Sharon Meyer, o=Veritext,
                                       ou, email, c=US
                                       Date: 2011.10.21 15:35:49 -04'00'
       8       ______________________________________

       9       SHARON MEYER

      10

      11

      12       Veritext

      13       200 Old Country Road

      14       Suite 580

      15       Mineola, NY 11501

      16

      17       Date:   October 21, 2011

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                                 CERTIFICATE OF SERVICE


       I hereby certify that on this 16th day of January, 2019, I caused a true and correct copy of

the foregoing Objection of the Senior Lenders to Motion of the United States Trustee for the

Entry of an Order Directing the Appointment of a Chapter 11 Examiner to be filed and served

through ECF notification upon all parties who receive notice in this matter pursuant to the

Court’s ECF filing system.


                                                     /s/ Michael Luskin
                                                     Michael Luskin
